Case 8:22-cv-00425-DOC-DFM Document 12-1 Filed 03/21/22 Page 1 of 30 Page ID #:38




                    EXHIBIT A
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 1Page
                                                                      of 292 of
                                                                             Page
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                                                                                      #:1 ID #:39



                     1   JOHN S. PURCELL (SBN 158969)
                         john.purcell@afslaw.com
                     2   JAKE GILBERT (SBN 293419)
                         jake.gilbert@afslaw.com
                     3   ARENTFOX SCHIFF LLP
                         555 West Fifth Street, 48th Floor
                     4   Los Angeles, CA 90013-1065
                         Telephone: 213.629.7400
                     5   Facsimile: 213.629.7401
                     6   Attorneys for Plaintiffs
                         TAYLOR WHITLEY AND
                     7   WTF.INDUSTRIES, LLC
                     8
                     9                       UNITED STATES DISTRICT COURT
                  10                        CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12     TAYLOR WHITLEY, and                 Case No.
                         WTF.INDUSTRIES, LLC,
                  13                                         COMPLAINT FOR
                                       Plaintiffs,
                                                             (1) COPYRIGHT INFRINGEMENT;
                  14
                              v.                             (2) VICARIOUS AND/OR
                  15                                         CONTRIBUTORY COPYRIGHT
                         CLARE MAGUIRE, JAKE
                         NYGARD, ANTONIUS                    INFRINGEMENT;
                  16
                         WIRIADJAJA, DONGLEE HAN,            (3) NEGLIGENT
                  17     and DOES 1-10, Inclusive.           MISREPRESENTATION - HAN;
                  18                   Defendants.           (4) NEGLIGENT
                                                             MISREPRESENTATION - OTHERS
                  19                                         (5) BREACH OF IMPLIED
                  20                                         CONTRACT;
                                                             (6) BREACH OF FIDUCIARY
                  21                                         DUTY;
                  22                                         (7) DISSOLUTION OF IMPLIED
                                                             PARTNERSHIP;
                  23                                         (8) UNJUST ENRICHMENT;
                  24                                         (9) CONVERSION;
                                                             (10) DEFAMATION; AND
                  25                                         (11) UNFAIR COMPETITION.
                  26
                                                             DEMAND FOR JURY TRIAL
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          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 2Page
                                                                      of 293 of
                                                                             Page
                                                                                30 ID
                                                                                    Page
                                                                                      #:2 ID #:40



                     1         Plaintiffs Taylor Whitley (“Whitley”)               and WTF.Industries, LLC
                     2   (“WTF.Industries”) (collectively “Plaintiffs”) complain and allege against Clare
                     3   Maguire (“Maguire”), Cake Nygard (“Nygard”), Antonius Wiriadjaja (“Wiriadjaja”),
                     4   Donglee Han (“Han”), and DOES 1-10 (collectively “Defendants”) as follows:
                     5                                 NATURE OF THE ACTION
                     6         1.     This action arises from Plaintiff Taylor Whitley’s wrongful ouster from
                     7   the digital art community he founded and nurtured, ultimately resulting in the loss of
                     8   years of his own work, along with an extensive list of lucrative projects which he laid
                     9   the groundwork to create.
                  10           2.     Whitley, in the same vein as other entrepreneurial artists, used his name
                  11     and connections in the digital art world to create and sell art using Whitley’s curated
                  12     internet community of collectors and collaborators. However, he was betrayed when
                  13     several people he chose to include in his community later usurped Whitley’s access
                  14     to and control of that community, renamed it, and exploited it for their own pecuniary
                  15     gain. This was part of their scheme to convert Whitley’s collectors, fans, and other
                  16     artists working on community projects all while infringing Whitley’s intellectual
                  17     property, and keeping him and the company he formed from reaping the considerable
                  18     financial rewards that flowed from the work and community he created.
                  19           3.     Defendants also appear to have engaged in a campaign of defamation to
                  20     further injure Plaintiff’s reputation and presumably to prevent him from competing
                  21     with them along with other digital art contacts he has.
                  22           4.     As a result of Defendants’ tortious and wrongful conduct, Whitley and
                  23     his clients and collectors lost access to years of collected art and music assets, and
                  24     Whitley lost access to confidential business plans and future projects, his client list,
                  25     and engagement data. Further, the community that Whitley created lost tremendous
                  26     goodwill associated with it by others in the digital art world, and prices associated
                  27     with community projects collectively went down. Such conduct can only be
                  28     remediated with monetary damages to compensate Plaintiff for his economic losses,
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                                                                  -2-                                COMPLAINT
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
                                      Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 3Page
                                                                      of 294 of
                                                                             Page
                                                                                30 ID
                                                                                    Page
                                                                                      #:3 ID #:41



                     1   payment to compensate him for revenue from projects he was entitled to participate
                     2   in or recoup his investment in, and injunctive relief to stop Defendants from
                     3   continuing to injure Plaintiffs’ good name and that of his representatives and
                     4   employees.
                     5                                       THE PARTIES
                     6         5.     Plaintiff Taylor Whitley is an individual resident of Arizona.
                     7         6.     Plaintiff WTF.Industries LLC is a limited liability company organized
                     8   under the laws of the state of Delaware and with its place of operations in Arizona.
                     9         7.     Defendant Clare Maguire, on information and belief, is an individual
                  10     residing in England.
                  11           8.     Defendant Jake Nygard, on information and belief, is an individual
                  12     residing in Minnesota.
                  13           9.     Defendant Antonius Wiriadjaja, on information and belief, is an
                  14     individual residing in New York City, New York.
                  15           10.    Defendant DongLee Han, on information and belief, is an individual
                  16     residing in Los Angeles, California.
                  17           11.    The true names and capacities of defendants sued herein as DOES 1
                  18     through 10, inclusive, are unknown to Plaintiff, who therefore sues said defendants
                  19     by fictitious names. Plaintiff will amend this complaint to allege their true names and
                  20     capacities when they are ascertained.
                  21                                    JURISDICTION AND VENUE
                  22           9.     This action arises in prominent part under the Copyright Act of 1976,
                  23     Title 17 U.S.C. §101 et seq.
                  24           10.    This Court has federal question jurisdiction over the subject matter and
                  25     parties pursuant to 28 U.S.C. §§1331 and 1338(a) and (b). This Court has
                  26     supplemental jurisdiction over the remaining causes of act pursuant to 28 U.S.C.
                  27     §1367(a) because the other claims are so related to claims in the action within such
                  28     original jurisdiction that they form part of the same case or controversy. Further, this
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                                                                  -3-                                COMPLAINT
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
                                      Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 4Page
                                                                      of 295 of
                                                                             Page
                                                                                30 ID
                                                                                    Page
                                                                                      #:4 ID #:42



                     1   Court has jurisdiction under 28 U.S.C. §§1332(a)(1) because there is complete
                     2   diversity of citizenship between Plaintiffs and the various Defendants and the amount
                     3   in controversy is over $75,000.
                     4          11.    Plaintiff is informed and believes, and on that basis alleges, that this
                     5   Court has personal jurisdiction over Defendants because Plaintiffs and Defendants
                     6   have caused digital art products described herein to be advertised, promoted, and sold
                     7   in the State of California and this judicial district.
                     8          12.    Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because
                     9   Defendants’ tortious conduct has occurred in this judicial district and a substantial
                  10     portion of the events or omissions giving rise to Plaintiff’s claims occurred in this
                  11     district.
                  12                                     FACTUAL BACKGROUND
                  13                  PLAINTIFF CREATES A THRIVING ONLINE ARTS COMMUNITY
                  14            13.    Plaintiff Whitley is a creative artist working in visual, performance, and
                  15     digital mediums. He has been a Voisey App featured producer and has spoken at art
                  16     conferences such as NFT NYC Conference due to his digital art world renown. His
                  17     work has been displayed all over the world including at the Official MF Doom
                  18     CryptoVoxel Gallery, the Sino NFT project and Start Art Gallery in Hong Kong, and
                  19     at The Global NFT Art Exhibition in Dubai. He has developed thriving social media
                  20     accounts including on Instagram (Tayl0rWTF – 6,000 followers, Caked Apes –
                  21     14,800 followers), Twitter (Tayl0rWTF – 38,000 followers, Caked Apes – 31,700
                  22     followers), and has led Discord groups with thousands of members each.
                  23            14.    Beginning in spring 2021, Whitley began promoting a new online
                  24     community for digital artists using his contacts on social media platforms and in the
                  25     Non-Fungible Token (“NFT”) community1. During this time Whitley hosted and
                  26
                  27
                         1
                           NFTs are digital assets that correspond to a unique digital or real world item and
                         serve as a proof of ownership or bill of sale for that item by describing the item in
                  28     metadata. Transactions involving NFTs are recorded to the same distributed digital
                         ledger as common cryptocurrencies.
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                                                                    -4-                              COMPLAINT
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 5Page
                                                                      of 296 of
                                                                             Page
                                                                                30 ID
                                                                                    Page
                                                                                      #:5 ID #:43



                     1   contributed to online social ‘rooms’ on Clubhouse (a social media app where artists,
                     2   collectors and other individuals met and spoke about NFTs and the crypto art
                     3   economy).
                     4         15.    In June of 2021, Whitley set up a Discord server entitled discord.art (
                     5   the “Art Discord”) and purchased a corresponding web domain (https://discord.art/).
                     6   A Discord “server” is an online community commonly focused on a single topic or
                     7   interest, and those servers can contain multiple “channels” which act as subsets for
                     8   the overall topic that the server was organized for.
                     9         16.    Discord is an internet platform which provides persistent voice and chat
                  10     services, as well as digital distribution via the transferal of media and other computer
                  11     files. It has approximately 350 million total registered users, 150 million monthly
                  12     active users, and commonly serves as the central organization, marketing, and
                  13     communications hub for its users.
                  14           17.    NFT projects commonly use Discord to organize their community of
                  15     buyers and other interested parties. Discord serves as the message board for formal
                  16     announcements, promotions and giveaways, votes on community issues, and conduit
                  17     for other business. Moreover, Discord is where artists and platform can communicate
                  18     directly with their collectors.
                  19           18.    Using his existing notoriety as a digital artist and by spending hours on
                  20     Clubhouse and the Art Discord, Whitley was quickly able to attract users to the Art
                  21     Discord, which had hundreds of users within weeks of launching. Whitley also began
                  22     using the Art Discord to promote his own artwork and digital goods for sale. Among
                  23     Whitley’s items for sale were his Floppy Disk editions, a collection of digital art and
                  24     music assets which others could use in their own projects.
                  25           19.    Through his efforts, Whitley quickly became a prominent NFT artist and
                  26     stood at the center of the Art Discord - one of the most important platforms for NFT
                  27     artists and their collectors - all before any Defendant became involved.
                  28     ///
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                                                                  -5-                                COMPLAINT
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
                                      Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 6Page
                                                                      of 297 of
                                                                             Page
                                                                                30 ID
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                                                                                      #:6 ID #:44



                     1          PLAINTIFF STAFFS THE COMMUNITY AND PLANS FUTURE PROJECTS
                     2         20.    After launching the Art Discord, Whitley was contacted by Defendant
                     3   Wiriadjaja (using his handle “Foodmasku”). Wiriadjaja asked Whitley if Whitley
                     4   would allow him to open up a channel on the Art Discord in order to market
                     5   Wiriadjaja’s NFTs, as Wiriadjaja lacked a comparable platform. Whitley agreed and
                     6   created the channel.
                     7         21.    Later in June 2021, as the Art Discord’s needs grew, Whitley hires
                     8   Trisha Reda (“Reda”) to act as a community manager for the Art Discord and others
                     9   to build a website to accompany the Art Discord and automated moderation tools.
                  10     Reda manages social media accounts related to the Art Discord and markets artists
                  11     that are on the Art Discord . For the first time, the Art Discord was used to promote
                  12     the work of other artists and has a small paid staff to do so.
                  13           22.    Throughout the next few months, Whitley exhaustively marketed the
                  14     Art Discord , the community, and the artists who were now contained within each.
                  15     Wiriadjaja helped Whitley promote the Art Discord, and the two grew close.
                  16           23.    On August 23, 2021, Whitley, feeling the effects of all of his work
                  17     marketing and promoting the Art Discord and the community in general – which now
                  18     contained thousands of members, decided to take a temporary step back from active
                  19     moderation and rest. He transferred “ownership” of the Art Discord to Wiriadjaja in
                  20     an effort to relieve his day to day obligations.
                  21           24.    It is important to note that “owner” in the context of Discord the web-
                  22     platform does not reflect legal ownership, or even an intent to alienate one’s rights to
                  23     the platform. Instead, the owner has the highest level of access and control of anyone
                  24     presently existing on that server. Owners can dole out permissions to other users,
                  25     including promoting users all the way up to Administrator, which allows unfettered
                  26     access and control to the server, second only to the Owner herself. Administrators
                  27     can moderate the chat and spoken word tools, and membership lists, and even change
                  28     server settings should anything need changing or fixing. Whitley never intended to
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                                                                   -6-                               COMPLAINT
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
                                      Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 7Page
                                                                      of 298 of
                                                                             Page
                                                                                30 ID
                                                                                    Page
                                                                                      #:7 ID #:45



                     1   leave the Art Discord, and remained instrumental in hiring and promotion decisions
                     2   after transferring “ownership.”
                     3         25.    Wiriadjaja agreed, and began maintaining continuity with the
                     4   community. Importantly, Whitley did not remove from himself any administrative
                     5   privileges or control of the Art Discord, he merely transferred the “ownership” to
                     6   Wiriadjaja temporarily on the web-platform for the Art Discord and then he gave
                     7   Wiriadjaja “Administrator” access to the website. No changes were made as to
                     8   ownership or control of the website or any other properties.
                     9         26.    In fact, Whitley directly supervised and led the hiring of 24 people -
                  10     Wiriadjaja only recommended a single hire. Whitley is also primarily in charge of
                  11     compensating the staff - including Reda, who continued managing the community
                  12     and was handsomely rewarded in the form a Mutant Ape NFT (valued at the time
                  13     between $50,000 and $100,000).        Whitley, along with his contributors, began
                  14     discussing the possibility of taking the Art Discord, and the community in general,
                  15     to the public as a means of increasing the potential scope of the project and
                  16     introducing it to new collectors and users.
                  17           27.    By mid-October 2021, there the Art Discord was booming – thousands
                  18     of members were contributing to the community and a full staff were in place to
                  19     manage. Whitley announced promotional efforts for a number of artists and projects
                  20     hosted by the Art Discord, the sales of which would benefit Whitley and Wiriadjaja
                  21     and the Art Discord. Wiriadjaja and Whitley agreed that they were “co-creators” of
                  22     the Art Discord and that each had played critical roles in its growth and development.
                  23           28.    The Art Discord continued to grow – Defendant Maguire was hired as a
                  24     community manager on or about October 19, 2021.
                  25           29.    Throughout November, the Art Discord supported multiple art releases,
                  26     new artist channels, and continuing growth in membership, artists and NFT sales,
                  27     and excitement for the Art Discord and the group as a whole. At this point,
                  28     Wiriadjaja, Maguire, and Whitley were working in concert along with the other staff
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    LOS ANGELES
                                                                  -7-                              COMPLAINT
          Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
                                      Document
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                                               12-1 03/18/22
                                                     Filed 03/21/22
                                                               Page 8Page
                                                                      of 299 of
                                                                             Page
                                                                                30 ID
                                                                                    Page
                                                                                      #:8 ID #:46



                     1   members to promote the various NFT releases and continue developing the Art
                     2   Discord, the community, and the value of each. Defendant Han joined at the end of
                     3   November 2021.
                     4         30.   Late in 2021, Whitley formed Plaintiff WTF.Industries to function as a
                     5   digital art agency, which would be responsible for developing, marketing, promoting,
                     6   and profiting from the sales of digital assets, like NFTs and other collections.
                     7   WTF.Industries would take revenue cuts of the projects it supported, whether that
                     8   was with the team that Whitley was already working with or third parties who sought
                     9   to have institutional support for their releases. Whitley is the sole member of
                  10     WTF.Industries.
                  11         PLAINTIFFS AND DEFENDANTS LAUNCH THEIR OWN NFT COLLECTION AND
                  12                    PLAINTIFF IS OUSTED FROM HIS ARTS COMMUNITY
                  13           31.   In line with Whitley’s ambitions, on December 16, 2021, the Art
                  14     Discord was rebranded to “WTF Industries”.
                  15           32.   On the same day, Han’s NFT project Pixel Tots launched. Han and
                  16     Whitley agreed that Whitley and WTF.Industries would market Pixel Tots for two
                  17     months in exchange for 25% of revenue from the initial launch, followed by 60% of
                  18     all revenue earned through secondary sales2 and 60 NFTs from the collection. Despite
                  19     this agreement, Whitley has never received any money from the Pixel Tots sale nor
                  20     is he aware of WTF.Industries receiving a share. To date hundreds of Pixel Tots NFTs
                  21     have been transacted generating tens of thousands of dollars of revenue for the
                  22     project.3
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                         2
                          NFTs are often bought and transferred using the Ethereum cryptocurrency system.
                         That system allows for the initial seller to automatically receive a percentage
                  25     royalty on subsequent sales of the same NFT. Therefore, creators are incentivized
                         to continue marketing to their buyers and collectors, as maintaining high resale
                  26     prices results in creators getting larger royalty payments.
                         3
                  27      Pixel Tot sales take place on the OpenSea NFT sales platform, and sales records
                         are publicly recorded and available online:
                  28     https://opensea.io/collection/pixeltots?tab=activity.
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    LOS ANGELES
                                                                 -8-                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
                 Case 2:22-cv-01837 Document
                                      Document
                                             1 12-1
                                               Filed 03/18/22
                                                     Filed 03/21/22
                                                               Page 9Page
                                                                      of 2910 Page
                                                                              of 30 IDPage
                                                                                       #:9 ID #:47



                     1         33.    At the same time, Whitley and Defendant Nygard readied their own
                     2   NFT collection for launch entitled Caked Apes. Caked Apes were designed and
                     3   created by Whitley and Nygard as a collection of 8,888 NFTs, each representing
                     4   unique and randomly generated NFTs which use traits from other NFT projects.
                     5   Whitley invested nearly $300,000 of his own money to launch the product and his
                     6   intellectual property.
                     7         34.    Specifically, Whitley created a series of logo designs which he uses to
                     8   identify himself and his work to third parties. (“the Subject Design”). Representative
                     9   samples can be seen below:
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                  18           35.    Whitley and
                  19     Defendants put up a website (https://www.cakedapes.wtf/), and social media
                  20     accounts (https://twitter.com/CakedApes, https://www.instagram.com/CakedApes/).
                  21     The     Caked      Apes      project    was     put    on     OpenSea       to    sell
                  22     (https://opensea.io/collection/cakedapesofficial) and opened for presale on January
                  23     10, 2022. Each of which identified both Whitley and Nygard as creators.
                  24           36.    Whitley and Defendants Maguire, Nygard, and Wiriadjaja agreed that
                  25     Whitley was to receive 10% of all revenue generated from Caked Apes primary and
                  26     secondary sale royalties, and WTF.Industries was to receive 30% of all Caked Apes
                  27     primary sales and 45% of all Caked Apes secondary sale royalties.
                  28           37.    Unbeknownst to Whitley at the time he agreed to the above revenue
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                                                                 -9-                               COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
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                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 10Page
                                                                    of 2911 Page
                                                                            of 30 IDPage
                                                                                     #:10ID #:48



                     1   split, Defendants Maguire, Nygard, and Wiriadjaja created a “multi-signature wallet”
                     2   to receive funds derived from the Caked Apes NFT launch and send Whitley the 10%
                     3   he was due.4 However, on information and belief, Defendants Maguire, Nygard, and
                     4   Wiriadjaja failed to set the multi-signature wallet to automatically distribute revenue
                     5   from the Caked Apes NFT project to a wallet owned by WTF.Industries for its share
                     6   of the revenue.
                     7         38.    Since launch, the Caked Apes NFTs have sold out of their original run,
                     8   generating an estimated $1.9 million in primary sale revenue and $225,000 in
                     9   royalties from secondary sales.
                  10           39.    To date, WTF.Industries has received none of the revenue generated by
                  11     Caked Apes. On information and belief, all revenue that was not sent to
                  12     WTF.Industries either remains in the multi-signature wallet or has been distributed
                  13     to and used by Defendants. Neither Whitley nor WTF.Industries has authorized any
                  14     expenses be paid with Caked Apes NFT project revenue.
                  15           40.    Once Whitley learned that WTF.Industries had not received any Caked
                  16     Apes NFT revenue and that Defendant Maguire had contacted WTF.Industries
                  17     accountants to add directors to WTF.Industries, Whitley directed his representatives
                  18     to convene a meeting of Whitley and Defendants to resolve any disputes related to
                  19     the WTF.Industries brand, the projects, revenue splits, and roles across each.
                  20           41.    Defendants never responded and this meeting never took place.
                  21           42.    On January 28, 2022, Whitley was removed from all social media
                  22     accounts related to the Caked Apes NFT project. On January 30, 2022, Whitley was
                  23     removed from the Art Discord.
                  24           43.    Whitley uses the Art Discord as his source of revenue and as marketing
                  25     for both his projects and as a means to support other artists. The Art Discord contains
                  26     significant amounts of Plaintiff’s art and music assets, data and contact information
                  27     4
                          A multi-signature wallet is software used to send and receive cryptocurrencies
                  28     whereby at least two authorized individuals must approve each transaction.
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 - 10 -                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 11Page
                                                                    of 2912 Page
                                                                            of 30 IDPage
                                                                                     #:11ID #:49



                     1   about the community and collectors, a client list, and his future art project plans -
                     2   crucial data for his ability to work as an artist. The Art Discord also contains
                     3   communications between Whitley and Defendants, financial records, and other
                     4   information at issue here.
                     5         44.    Further, in the time since, social media accounts associated with Nygard
                     6   and Maguire and numerous anonymous social media accounts have harassed and
                     7   made false and slanderous statements about Whitley to the public, and to specific
                     8   prominent individuals and entities in the digital art world. These messages make
                     9   plainly false claims about Whitley. Representative examples can be seen below:
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ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                - 11 -                            COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
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                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 12Page
                                                                    of 2913 Page
                                                                            of 30 IDPage
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ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                       - 12 -                          COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
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                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 13Page
                                                                    of 2914 Page
                                                                            of 30 IDPage
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    LOS ANGELES
                                                       - 13 -                          COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 14Page
                                                                    of 2915 Page
                                                                            of 30 IDPage
                                                                                     #:14ID #:52



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                  18           45.    Maguire has previously admitted to Plaintiff that she stood ready to use
                  19     anonymous social media accounts in other ways, such as to build hype for the Art
                  20     Discord or its projects, or even for nefarious tasks like harassing social media profiles
                  21     she does not like. On information and belief, these slanderous messages are made
                  22     directly by Maguire, by anonymous accounts she controls, or at her behest, and were
                  23     made to impact Plaintiff’s reputation in the art world and among potential collectors.
                  24     Reputation is particularly important here, as the value of NFT projects Plaintiff
                  25     promotes or sells directly are often directly related to his reputation among collectors
                  26     and among the broader populace who rely upon that reputation (and the scarcity of
                  27     the desired objects) to lead to high valuations and lucrative resales.
                  28           46.    Despite all of the above malfeasance, in order to attempt to maintain the
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    LOS ANGELES
                                                                  - 14 -                              COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 15Page
                                                                    of 2916 Page
                                                                            of 30 IDPage
                                                                                     #:15ID #:53



                     1   sinking value of Plaintiff’s assorted investments, the value of the Art Discord overall,
                     2   and the prices of art promoted by the Art Discord, Plaintiff has continued to pay
                     3   required maintenance fees for the Art Discord in the hope that he would one day be
                     4   able to retain its goodwill and the assets stored therein.
                     5         47.    Whitley has applied for a United States Copyright Registration covering
                     6   the Subject Design, identified as application case number 1-1123483811.
                     7         48.    Many of the Caked Ape NFTs incorporate the Subject Design,
                     8   including, but not limited to Caked Ape #787, Caked Ape #5099, and Caked Ape
                     9   #1798 seen below, each of which use the Subject Design essentially as a watermark
                  10     in the background of the image. Whitley’s authorization for the use of the Subject
                  11     Design in the Caked Apes NFT project was contingent on the revenue split to being
                  12     paid to him and WTF.Industries, as well his continued involvement with and
                  13     management of the Caked Apes NFT project.
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                  15                    Subject Design                           Infringing Use
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ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                  - 15 -                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 16Page
                                                                    of 2917 Page
                                                                            of 30 IDPage
                                                                                     #:16ID #:54



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                                        Subject Design                          Infringing Use
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                  18           49.    Whitley is informed and believes, and thereon alleges that Defendants
                  19     have sold Caked Ape NFTs incorporating the Subject Design since Caked Aped
                  20     NFTs launched on January 10, 2022.
                  21           50.    Now, Plaintiff seeks judicial intervention into the operation of his
                  22     potentially lucrative art community in order to recover Plaintiff’s rightful share of
                  23     proceeds from the Caked Apes NFT project, and for Whitley’s loss of access to the
                  24     Art Discord and to remedy Defendant’s wrongful acts which have not only injured
                  25     the value of the community itself, but the individual projects, and Whitley’s very
                  26     reputation and future involvement in the digital art world.
                  27     ///
                  28     ///
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 - 16 -                           COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 17Page
                                                                    of 2918 Page
                                                                            of 30 IDPage
                                                                                     #:17ID #:55



                     1                                FIRST CLAIM FOR RELIEF
                     2               (Copyright Infringement against all Defendants, and Each)
                     3         51.     Plaintiff incorporates and re-alleges the allegations contained in
                     4   paragraphs 1-50 of this Complaint as if fully set forth herein.
                     5         52.     Whitley alleges that Defendants, and each of them, had access to the
                     6   Subject Design stemming from Whitley’s collaboration and involvement as co-
                     7   creator of the Caked Apes NFT project.
                     8         53.     Whitley’s authorization to use the Subject Design was contingent on
                     9   receiving his agreed upon portion of revenue from the Caked Apes NFT project and
                  10     WTF.Industries receiving its share, and his ongoing involvement with and
                  11     management of the Caked Apes NFT project. When WTF.Industries did not receive
                  12     its agreed-upon share, his authorization was revoked.
                  13           54.     Due to Defendants’ acts of infringement, Whitley suffered substantial
                  14     damages to his professional reputation and opportunities.
                  15           55.     Due to Defendants’ acts of infringement, Whitley has suffered general
                  16     and special damages in an amount to be established at trial.
                  17           56.     Due to Defendants’ acts of copyright infringement as alleged herein,
                  18     Defendants, and each of them, have obtained direct and indirect profits they would
                  19     not otherwise have realized but for their infringement of the Subject Design. As such,
                  20     Whitley is entitled to disgorgement of Defendants’ profits directly and indirectly
                  21     attributable to Defendants’ infringement of Whitley’s rights in the Subject Design in
                  22     an amount to be established at trial.
                  23                                 SECOND CLAIM FOR RELIEF
                  24           (Vicarious and/or Contributory Copyright Infringement against all
                  25                                    Defendants, and Each)
                  26           57.     Whitley incorporates and re-alleges the allegations contained in
                  27     paragraphs 1-56 of this Complaint as if fully set forth herein.
                  28           58.     Whitley is informed and believes and thereon alleges that Defendants
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    LOS ANGELES
                                                                 - 17 -                            COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 18Page
                                                                    of 2919 Page
                                                                            of 30 IDPage
                                                                                     #:18ID #:56



                     1   knowingly induced, participated in, aided and abetted in, and profited from the illegal
                     2   reproduction and/or subsequent sales of NFTs featuring the Subject Design alleged
                     3   herein.
                     4         59.    Whitley is informed and believes and thereon alleges that Defendants,
                     5   and each of them, are vicariously liable for the infringement alleged herein because
                     6   they had the right and ability to supervise the infringing conduct and because they
                     7   had a direct financial interest in the infringing conduct.
                     8         60.    By reason of the Defendants’, and each of their acts of contributory and
                     9   vicarious infringement as alleged above, Whitley has suffered and will continue to
                  10     suffer substantial damages to his professional reputation and opportunities in an
                  11     amount to be established at trial, as well as additional general and special damages,
                  12     in an amount to be established at trial.
                  13           61.    Due to Defendants’, and each of their acts of copyright infringement as
                  14     alleged herein, Defendants, and each of them, have obtained direct and indirect
                  15     profits they would not otherwise have realized but for their infringement of the
                  16     Subject Design. As such, Whitley is entitled to disgorgement of Defendants’ profits
                  17     directly and indirectly attributable to Defendants’ infringement of Whitley’s rights in
                  18     the Subject Design, in an amount to be established at trial.
                  19                                  THIRD CLAIM FOR RELIEF
                  20                   (Negligent Misrepresentation against Defendant Han)
                  21           62.    Whitley incorporates and re-alleges the allegations contained in
                  22     paragraphs 1-61 of this Complaint as if fully set forth herein.
                  23           63.    Whitley alleges that, at the time Defendant Han represented to Whitley
                  24     that 25% of revenue from the initial launch followed by 60% of all revenue earned
                  25     through secondary sales and 60 NFTs would be sent to him, Han did not have
                  26     reasonable grounds to believe those representations were true.
                  27           64.    Han’s assertions as to the revenue split were material to Whitley’s
                  28     decision to host the Pixel Tots project on the Art Discord and provide marketing and
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                    - 18 -                          COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 19Page
                                                                    of 2920 Page
                                                                            of 30 IDPage
                                                                                     #:19ID #:57



                     1   promotional services for it.
                     2         65.    Whitley did not have knowledge of Han’s misrepresentations and
                     3   omissions as to the foregoing issues, and reasonably and justifiably relied on her false
                     4   and incomplete statements in providing marketing services and the use of the Art
                     5   Discord to support the Pixel Tots NFT project.
                     6         66.    As a direct and proximate result of Han’s misrepresentations and
                     7   omissions, Whitley agreed to, and performed said marketing and promotional
                     8   services for the Pixel Tots NFT project, resulting in high sales volumes but
                     9   preventing Whitley from engaging with other projects at the same time.
                  10           67.    Whitley, in addition to the unpaid revenue from the Pixel Tots NFT
                  11     launch, was damaged in an amount to be proven at trial.
                  12                                    FOURTH CLAIM FOR RELIEF
                  13         (Negligent Misrepresentation against Defendants Maguire, Nygard, and
                  14                                           Wiriadjaja)
                  15           68.    Plaintiffs incorporate and re-allege the allegations contained in
                  16     paragraphs 1-67 of this Complaint as if fully set forth herein.
                  17           69.    Whitley alleges that, at the time Defendants Maguire, Nygard, and
                  18     Wiriadjaja represented to Whitley that 10% of revenue from the Caked Apes NFT
                  19     project (both primary sales and secondary royalties) would be sent to Whitley and
                  20     30% of revenue from primary sales of the Caked Apes NFT project would be sent to
                  21     WTF.Industries and 45% of secondary sale royalties of the Caked Apes NFT project
                  22     would be sent to WTF.Industries, Defendants Maguire, Nygard, and Wiriadjaja did
                  23     not have reasonable grounds to believe those representations were true.
                  24           70.    Defendants Maguire, Nygard, and Wiriadjaja’s assertions related to the
                  25     revenue split were material to Whitley’s decision to launch the Caked Apes NFT
                  26     project and use his intellectual property for it.
                  27           71.    Whitley did not have knowledge of Defendants Maguire, Nygard, and
                  28     Wiriadjaja’s misrepresentations and omissions as to the foregoing issues and
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                   - 19 -                            COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 20Page
                                                                    of 2921 Page
                                                                            of 30 IDPage
                                                                                     #:20ID #:58



                     1   reasonably and justifiably relied on her false and incomplete statements in agreeing
                     2   to launch the Caked Apes NFT project and use his intellectual property for it.
                     3         72.    As a direct and proximate result of Defendants Maguire, Nygard, and
                     4   Wiriadjaja’s misrepresentations and omissions, Whitley agreed to use his intellectual
                     5   property in and support the launch of the Caked Apes NFT Project, resulting in
                     6   enormous sales but preventing Whitley from pursuing other opportunities at the time.
                     7         73.    Whitley was damaged in an amount to be proven at trial.
                     8                                FIFTH CLAIM FOR RELIEF
                     9                   (Breach of Implied Contract against Defendants)
                  10           74.    Plaintiffs incorporate and re-allege the allegations contained in
                  11     paragraphs 1-73 of this Complaint as if fully set forth herein.
                  12           75.    Whitley, WTF.Industries, and Defendants were engaged, collectively,
                  13     in a venture to earn profit and share loss. Third parties who had dealings with them
                  14     and would have been aware of each’s public social media posts would reasonably
                  15     have understood they were engaged in business together – promotion of first the Art
                  16     Discord and its artists and projects and later related to the Pixel Tots and Caked Apes
                  17     NFT projects. Accordingly and pursuant to California Corporations Code § 16101(9),
                  18     Plaintiffs and Defendants were in an implied partnership.
                  19           76.    As such, California Corporations Code § 16103(b) provides a number
                  20     of duties which govern the relation of Plaintiffs and Defendants’ implied partnership,
                  21     specifically stating that the partnership agreement may not “unreasonably restrict the
                  22     right of access to books and records…” and “eliminate the duty of loyalty…” among
                  23     other imposed duties.
                  24           77.    Defendants breached the implied partnership agreement by, inter alia:
                  25                   Removing Whitley from the Art Discord on January 30, 2022 and
                  26                     not returning control or reinstating him - preventing Whitley from
                  27                     accessing his stored client lists, customer engagement data, future
                  28                     projects, and collected assets;
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 - 20 -                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 21Page
                                                                    of 2922 Page
                                                                            of 30 IDPage
                                                                                     #:21ID #:59



                     1                 Removing Whitley from the Caked Apes social media profiles and
                     2                    refusing access;
                     3                   Failing to distribute to Whitley his portion of revenue from the Pixel
                     4                    Tots NFT project;
                     5                 Failing to distribute to WTF.Industries its portion of revenue from
                     6                    the Caked Apes NFT project.
                     7         78.    As a proximate cause of Defendants’ breach of the implied partnership
                     8   agreement, Plaintiff has been damaged in an amount to be proven at trial.
                     9                                 SIXTH CLAIM FOR RELIEF
                  10                       (Breach of Fiduciary Duty against Defendants)
                  11           79.    Plaintiffs incorporates and re-alleges the allegations contained in
                  12     paragraphs 1-78 of this Complaint as if fully set forth herein.
                  13           80.    Plaintiffs and Defendants were engaged, collectively, in a venture to
                  14     earn profit and share loss. Third parties who had dealings with them and would have
                  15     been aware of each’s public social media posts would reasonably have understood
                  16     they were engaged in business together. Accordingly, Plaintiffs and Defendants were
                  17     in an implied partnership.
                  18           81.    As such, California Corporations Code §§16404(a)-(f) provides a series
                  19     of duties that are owned between Plaintiffs and Defendants including a duty of care,
                  20     a duty of loyalty, and an obligation of good faith and fair dealing.
                  21           82.    Defendants breached these duties by, inter alia:
                  22                   Removing Whitley from the Art Discord on January 30, 2022 and
                  23                      not returning control or reinstating him - preventing Whitley from
                  24                      accessing his stored client lists, customer engagement data, future
                  25                      projects, and collected assets;
                  26                   Removing Whitley from the Caked Apes social media profiles and
                  27                      refusing access;
                  28                     Failing to distribute to Whitley his portion of revenue from the Pixel
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                  - 21 -                            COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 22Page
                                                                    of 2923 Page
                                                                            of 30 IDPage
                                                                                     #:22ID #:60



                     1                   Tots NFT project;
                     2                 Failing to distribute to WTF.Industries its portion of revenue from
                     3                   the Caked Apes NFT project.
                     4         83.    Defendants are intimately familiar with the Art Discord, the art
                     5   community that uses it, the projects that are being developed on it, and how much the
                     6   community depends on access to Whitley and Whitley’s assurances as to the value
                     7   of the assorted projects. Defendants have each acknowledged how vital Whitley’s
                     8   contribution and involvement is because of the general association of the digital art
                     9   and NFT world with Whitley.
                  10           84.    Additionally, Defendants’ conduct impacted the Art Discord, which has
                  11     significant independent value and future projects associated with it. By preventing
                  12     Whitley from accessing the Art Discord, the user community is losing one of the
                  13     prime assets they bargained for when they joined or bought any NFTs sold
                  14     independently by Whitley. Defendants also have depressed the prices of NFTs sold
                  15     by artists promoted by the Art Discord and harmed their resale value, which
                  16     negatively impacts WTF.Industries revenues for existing and future projects.
                  17     Accordingly, Defendants’ breaches of their fiduciary duties to Plaintiffs have directly
                  18     and proximately damaged Plaintiffs in the firm of lost profits, opportunities for future
                  19     projects, and other related damages.
                  20           85.    As a direct and proximate cause of Defendants’ conduct, Plaintiffs have
                  21     been damaged in an amount to be proven at trial.
                  22           86.    Defendants’ conduct will cause further damages to Plaintiffs until such
                  23     time as Defendants honor their fiduciary duties. The longer Whitley is kept locked
                  24     out of the Art Discord and away from the community he founded, the more damage
                  25     that will be done, both as the prices of community-sold NFTs will be harmed, but
                  26     similarly, the reputation and goodwill of the Art Discord and community will be
                  27     harmed because part of the rights and benefits of membership are access to Whitley
                  28     and his work and without those, the community and Plaintiff’s main collectors will
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                  - 22 -                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 23Page
                                                                    of 2924 Page
                                                                            of 30 IDPage
                                                                                     #:23ID #:61



                     1   hold him personally responsible.
                     2                                SEVENTH CLAIM FOR RELIEF
                     3               (Dissolution of Implied Partnership against Defendants)
                     4         87.    Plaintiffs incorporates and re-alleges the allegations contained in
                     5   paragraphs 1-86 of this Complaint as if fully set forth herein.
                     6         88.    Plaintiffs and Defendants were engaged, collectively, in a venture to
                     7   earn profit and share loss. Third parties who had dealings with them and would have
                     8   been aware of each’s public social media posts would reasonably have understood
                     9   they were engaged in business together. Accordingly, Plaintiff and Defendants were
                  10     in an implied partnership.
                  11           89.    As such, California Corporations Code §§16405(b) provides a series of
                  12     bases on which a partner of an implied partnership may maintain an action against a
                  13     partner, including but not limited to “[t]he partner’s right to compel a dissolution and
                  14     winding up of the partnership business under Section 16801…” and “[t]he partner’s
                  15     right on dissociation to have the partner’s interest in the partnership purchased
                  16     pursuant to Section 16701 or 16701.5…”
                  17           90.    Defendants’ actions have unreasonably frustrated the economic purpose
                  18     of the implied partnership described herein, and engaged in conduct relating to the
                  19     partnership business that makes it not reasonably practicable to carry on the business
                  20     in partnership with Defendants. Specifically, by deleting the Art Discord and
                  21     preventing the community from accessing Plaintiff, Defendants have prevented the
                  22     Art Discord’s community from accessing one of the prime assets they bargained for
                  23     when they joined the Art Discord or bought any NFTs sold by Whitley. Defendants
                  24     also have depressed the prices of NFTs sold by artists promoted by the Art Discord
                  25     and harmed their resale value, which negatively impacts Plaintiffs’ revenues for
                  26     existing and future projects. Therefore, it is not otherwise reasonably practicable to
                  27     carry on the partnership business.
                  28           91.    Accordingly, Plaintiffs are entitled to dissolution of the partnership and
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                  - 23 -                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 24Page
                                                                    of 2925 Page
                                                                            of 30 IDPage
                                                                                     #:24ID #:62



                     1   a winding up of its affairs, pursuant to California Corporations Code §16801 et seq.
                     2   and seek a judicial order for such dissolution to occur.
                     3                               EIGHTH CLAIM FOR RELIEF
                     4                        (Unjust Enrichment against Defendants)
                     5         92.    Plaintiffs incorporate and re-allege the allegations contained in
                     6   paragraphs 1-91 of this Complaint as if fully set forth herein.
                     7         93.    Plaintiffs conferred upon Defendants economic and noneconomic
                     8   benefits, in the form of revenue from the sales and resales of the Pixel Tots and Caked
                     9   Apes NFT projects, as well as access to the Art Discord, respectively.
                  10           94.    Defendants’ financial and other benefits are a direct and proximate
                  11     result from their unlawful and inequitable conduct described in this Complaint.
                  12           95.    It would be inequitable and unjust for Defendants to be permitted to
                  13     retain any of the unlawful proceeds resulting from their illegal and inequitable
                  14     conduct. As alleged in this Complaint, Defendants have been unjustly enriched as a
                  15     result of wrongful conduct. Plaintiffs are accordingly entitled to equitable relief,
                  16     including restitution and/or disgorgement of all revenues, earnings, profits,
                  17     compensation, and benefits which may have been obtained by Defendants as a result
                  18     of such practices.
                  19                                  NINTH CLAIM FOR RELIEF
                  20                              (Conversion against Defendants)
                  21           96.    Plaintiffs incorporate and re-allege the allegations contained in
                  22     paragraphs 1-95 of this Complaint as if fully set forth herein.
                  23           97.    The revenue from the Pixel Tots and Caked Apes NFT launches that had
                  24     been agreed by Plaintiffs and Defendants to go to Plaintiff Whitley or Plaintiff
                  25     WTF.Industries was and is Plaintiffs’ property.
                  26           98.    Further, the Art Discord and all data contained therein is Plaintiff
                  27     Whitley’s was and is Plaintiff Whitley’s property.
                  28           99.    Defendants intentionally and substantially interfered with Plaintiffs’
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 - 24 -                             COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 25Page
                                                                    of 2926 Page
                                                                            of 30 IDPage
                                                                                     #:25ID #:63



                     1   property by withholding the revenue that was agreed to be Plaintiffs’ and Plaintiff’s
                     2   Discord and the information and data contained therein.
                     3         100. Plaintiffs did not consent to Defendants taking any of the property
                     4   specified in this Complaint for their personal or any other use except as specified
                     5   herein.
                     6         101. Defendants have not returned any of that property to Plaintiffs.
                     7         102. Plaintiffs have been damaged in an amount to be proven at trial as a
                     8   result of Defendants’ actions in converting and misappropriating Plaintiffs’ property.
                     9         103. In addition, Plaintiffs’ damages are ongoing and increasing due to the
                  10     loss of value of goodwill associated with the Art Discord and the lowered ability to
                  11     profit off of the NFT community Whitley developed there.
                  12                                  TENTH CLAIM FOR RELIEF
                  13                        (Defamation against Maguire and Nygard)
                  14           104. Whitley incorporates and re-alleges the allegations contained in
                  15     paragraphs 1-103 of this Complaint as if fully set forth herein.
                  16           105. In making a series of posts on social media, including, but not limited
                  17     to on Twitter and the Art Discord that “someone I was asked to help build community
                  18     for abused me and tried to kill me[,]” and “The caked apes collection was DMCA’s
                  19     by Taylor Whitley aka Taylor wtf because he chose to abuse Cake and an entire
                  20     community of holders of Caked Apes” and “he hates all of you” Maguire and Nygard
                  21     expressed purportedly factual statements about Whitley and implied that there was a
                  22     factual basis to evaluate Whitley’s mental health, friendships, and work.
                  23           106. On information and belief, Maguire used social media accounts under
                  24     other people’s names or identities or using fake identities, or caused other people to
                  25     make similar posts and defamatory statements about Whitley on social media and on
                  26     the Art Discord.
                  27           107. On information and belief, Maguire and Nygard intentionally
                  28     communicated these specific statements to the public at large and individuals in the
ARENTFOX SCHIFF LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                                                                 - 25 -                              COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 26Page
                                                                    of 2927 Page
                                                                            of 30 IDPage
                                                                                     #:26ID #:64



                     1   NFT community on social media.
                     2          108. On information and belief, the individuals to whom Maguire and
                     3   Nygard sent these messages to or caused messages to be sent to understood these
                     4   statements to refer to Whitley, and specifically to mean that Whitley should not be
                     5   associated with by others in the NFT community.
                     6          109. These statements were false. Maguire and Nygard were valued members
                     7   of the Art Discord team whose opinion had been eagerly sought throughout its
                     8   development and Whitley was unfailingly polite and kind to Maguire and Nygard.
                     9   Maguire and Nygard’s statements, and those Maguire caused others to make, are
                  10     themselves express false statements of fact, and they falsely imply knowledge that
                  11     had come from others and was known to people who associate with Whitley. No
                  12     factual basis for these statements exist however, and more so, without access to the
                  13     Art Discord, Whitley cannot know the extent to which further statements have been
                  14     made about him by Maguire or others on her behalf.
                  15            110. Maguire and Nygard made the above-described defamatory statements
                  16     with actual malice – i.e. with knowledge of their falsity, or, alternatively, with a
                  17     reckless disregard for their falsity.
                  18            111. Maguire and Nygard made these statements without privilege or
                  19     justification.
                  20            112. The above-described statements concerning Whitley directly injured
                  21     him by diminishing his reputation in his profession and among his peers in the NFT
                  22     art world, which has a natural tendency to lower his earnings – much of which are
                  23     based on his reputation amongst his peers and NFT collectors.
                  24            113. The above-described statements convey a defamatory meaning. They
                  25     harm Whitley’s reputation as to lower it.
                  26            114. It was Maguire and Nygard’s expectation and intent that the defamatory
                  27     statements would injure Whitley economically, including by lessening his earnings.
                  28            115. Whitley has not discovered, and may not be able to discover, the extent
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    LOS ANGELES
                                                                 - 26 -                          COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 27Page
                                                                    of 2928 Page
                                                                            of 30 IDPage
                                                                                     #:27ID #:65



                     1   to which any lessening of his reputation has occurred as a result of Maguire and
                     2   Nygard’s defamatory statements. Whitley may have lost out on the opportunity to
                     3   collaborate with other NFT artists, or to market or promote other projects in exchange
                     4   for shares of revenue generated – similar to how he worked with Defendants.
                     5                               ELEVENTH CLAIM FOR RELIEF
                     6      (Violation of Cal. Bus. & Prof. Code §§ 17200 et seq. against Defendants)
                     7         116. Plaintiff incorporates and re-alleges the allegations contained in
                     8   paragraphs 1-115 of this Complaint as if fully set forth herein.
                     9         117. Defendants, by wrongfully removing Whitley from the Caked Apes
                  10     social media accounts and withholding the Art Discord and the revenue generated by
                  11     the Pixel Tots and Caked Apes NFT launches, have engaged in unlawful and unfair
                  12     business practices that have injured and will continue to injure Plaintiff’s business
                  13     and property in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.
                  14           118. Plaintiff has been, and will continue to be, irreparably harmed by
                  15     Defendants’ conduct unless Defendants are enjoined by this Court. Plaintiff has no
                  16     adequate remedy at law, in that the amount of damage to Plaintiff’s business and
                  17     reputation and the diminution of the goodwill associated the Art Discord is difficult
                  18     to ascertain with specificity. Plaintiff is therefore entitled to injunctive relief.
                  19                                      PRAYER FOR RELIEF
                  20           WHEREFORE, Plaintiff prays for judgment as follows:
                  21           a)     For judgment in favor of Plaintiffs on each of its claims for relief;
                  22           b)     For injunctive relief; specifically, that Defendants and all of their
                  23     officers, agents, servants, representatives, employees, attorneys, parent and
                  24     subsidiary corporations, assigns and successors in interest, and all other persons
                  25     acting in concert with them be preliminarily and permanently enjoined from (i) acting
                  26     on behalf of or in any way representing themselves to be the Art Discord or its
                  27     predecessors with Plaintiff’s consent; (ii) withdrawing any funds (whether in US
                  28     Dollars or in any cryptocurrency) that were earned as a result of the same of any art
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                                                                   - 27 -                               COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 28Page
                                                                    of 2929 Page
                                                                            of 30 IDPage
                                                                                     #:28ID #:66



                     1   project created by members of, or that was supported in any way, by the Art Discord
                     2   or its predecessors without Plaintiffs’ consent; and (iii) making any statements,
                     3   whether anonymously or identified by any individual Defendant’s name or in the
                     4   name of the Art Discord or its predecessors, that defames Whitley or injures his
                     5   reputation in any way;
                     6            c)   An order that the implied partnership described herein be dissolved and
                     7   all partnership affairs be wound up within 30 days of judgment, including all
                     8   partnership records be turned over to Plaintiff and that affairs be settled and
                     9   distribution made to the partners in a proportion that will be proven at trial;
                  10              d)   An award in favor of Plaintiff and against Defendants for all damages
                  11     suffered as a result of Defendants’ wrongdoing, in an amount to be proven at trial;
                  12              e)   For compensatory and punitive damages in an amount to be proven at
                  13     trial;
                  14              f)   For disgorgement of Plaintiffs’ portion of all revenue obtained from, or
                  15     in connection with, the Pixel Tots NFT project and the Caked Apes NFT project on
                  16     or after January 1, 2022, and lost profits Plaintiff would have attained had his access
                  17     not been deleted;
                  18              g)   For attorneys’ fees;
                  19              h)   For pre-judgment and post-judgment interest;
                  20              i)   For costs of this suit; and
                  21              j)   For such other relief as the court deems just and proper.
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                                                                     - 28 -                          COMPLAINT
         Case 8:22-cv-00425-DOC-DFM
               Case 2:22-cv-01837 Document
                                     Document
                                           1 Filed
                                              12-103/18/22
                                                   Filed 03/21/22
                                                            Page 29Page
                                                                    of 2930 Page
                                                                            of 30 IDPage
                                                                                     #:29ID #:67



                     1         Plaintiffs hereby demand trial by jury on all issues pursuant to Fed. R. of Civ.
                     2   Proc. 38 and the 7th Amendment to the United States Constitution.
                     3
                     4   Dated: March 18, 2022                      ARENTFOX SCHIFF LLP
                     5
                     6                                              By: /s/ John S. Purcell
                                                                       John S. Purcell
                     7                                                 Jake Gilbert
                                                                       Attorneys for Plaintiffs
                     8                                                 TAYLOR WHITLEY and
                                                                       WTF.INDUSTRIES, LLC
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    LOS ANGELES
                                                                - 29 -                             COMPLAINT
